Case 1:19-cv-00005-WES-PAS Document 1-7 Filed 01/03/19 Page 1 of 11 Page|D #: 102

EXHIBIT F

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John B. Ennis

Allorney at _Law

1200 Reservoir Avenue
Cranston, Rhode Island 02920

Tel. (401) 943-9230

October 29, 2018

Bank of America

Attn: Notice of Error &
Request for Information

P.O. Box 942019

Simi Valley, CA 93094-2019

Fax (401) 679-0035

Clients: Dolores Cepeda
Address: 177 Dexter Street
Providence, RI 02907

Loan Number: _

Dear Sir or l\/ladam:

Please consider this letter to constitute a Notice of Error under 12 CFR Section 1024.35 of
Regulation X of the Mortgage Servicing Act under RESPA, which Regulation became effective
on January 10, 2014. These amendments implemented the Dodd-Frank Wall Street Reform and
C?nsumer Protection Act provisions regarding mortgage loan servicing Under these
amendments, you must acknowledge receipt of this Notice within five (5) days thereof
(excluding legal public holidays, Saturdays and Sundays) and must advise me of your responses

to this notice within thirty (3 0) days of receipt thereof (cxcluding legal public holidays,
Saturdays and Sundays).

The written authority of the client to my law firm for this Request is attached hereto and
incorporated herein by this reference

Under Section 1024.35(_b) of Amended Regulation X, the term “error” means the following
categories ot` covered errors:

(1) Failure to accept a payment that conforms to the servicer’s written requirements for the
borrower to follow in making payments

('2) Failure to apply an accepted payment to principal_. interest_. escrow, or other charges under the
terms ot` the mortgage loan and applicable law.

(3) Failure to credit a payment to a borrower's mortgage loan account as of the date ot` receipt, in
violation of the prompt crediting provisions in 12 CFR 1026.36(0)(1).

(4) Failure to pay taxes, insurance premiums, or other charges, including charges that the
consumer has voluntarily agreed that the servicer should collect and pay, in a timely manner as
required by the escrow provisions of § 1024.34(a`), or to refund an escrow account balance as
required by § 1024.34(b).

(5) Imposition of a fee or charge that the servicer lacks a reasonable basis to impose upon the
consumer, which includes, for example, a late fee for a payment that was not late, a charge you
imposed for a service that was not provided, a default property-management fee for consumers

 

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who are not in a delinquency status that would justify the charge_, or a charge for force-placed
insurance provisions

(6) F ailure to provide an accurate payoff balance amount upon a borrower's request pursuant to
12 CFR 1026.36(c)(3).

(7) Failure to provide accurate information to a borrower for loss mitigation options and
foreclosure, as required by the early intervention provisions of§ 1024.39.

(8) Failure to accurately and timely transfer information relating to the servicing of a borrower’s
mortgage loan account to a transferee servicer.

(9) l\/Iaking the first notice or filing required by applicable law for any judicial or non~j udicial
foreclosure process in violation of the loss mitigation procedures of § 1024.41(f) or (j).

(10) Moving for foreclostu'ejudgment or order of sale, or conduction a foreclosure sale in
violation of the loss mitigation procedures of this rule § 1024.4l(g) or (j).

(11) Any other error relating to the servicing of the consumer’s mortgage loan. Please note
“seivicing” is defined in § 1024.2(b).

The consumer in this case believes that you committed an error by not responding to a
Request for Information within thirty business days of receipt. You received a Request for
Information on December 12, 2017 and have not provided the information requested. This
Request for Information requested the following information:

With respect to the receipt of all periodic payments of principal, interest and escrow, what
was the contractual status of the consumer’s mortgage loan when Bank of America, NA as
Creditor for Bank of America, California, N.A. transferred ownership of this mortgage
loan, including all documents on which you relied on to provide this information,

When you responded by letter dated January 12, 2018 and received on January 20, 2018, you
declined to respond, stating:

Certain requests described in your correspondence constitutes a valid qualified written
request(QWR) under the Real Estate Settlement and Procedures Act (RESPA) and will be
addressed in accordance with RESPA guidelines

However you then did not provide any of the information requested in the Request for
Information and did not provide any of this information, but merely referenced a Loan
Transaction History Spreadsheet and ignored the Request for Information. No information
was provided in response to the following information:

With respect to the receipt of all periodic payments of principal, interest and escrow, what
was the contractual status of the consumer’s mortgage loan when Bank of America, NA as
Creditor for Bank of America, California, N.A. transferred ownership of this mortgage
loan, including all documents on which you relied on to provide this information,

You committed error by refusing to provide information relating to the status of the
mortgage loan when Bank of America, NA as Creditor for Bank of America, California,
N.A.

Please correct all of these errors and provide me With notification of the correction, the date of
the coirection, and contact information for further assistance; or after conducting a reasonable

 

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investigation and providing the borrower through my firm with a notification that includes a
statement that the servicer has determined that no error occurred, a statement of the reason or
reasons for this determination, a statement of the borrower’s right to request documents relied
upon by the servicer in reaching its determination, information regarding how the borrower can
request such documents, and contact information for fuither assistance

Please be advised that for 60 days after receipt of a Notice of Error, you may not furnish adverse
information to any consumer reporting agency regarding any payment that is the subject of the
Notice of Error pursuant to § 1024.35(i).

Sincerely,

John B. Ennis, Esq.

CaSe lilQ-CV-OOOOB-WES-PAS

BanliofAmerica

@

lime Loans

Customer Service Department
P.O. Box 31785
Tampa, FL 33631-3785

John B. Ennis
' 1200 ReservoirAvenue
Cranston, Rl 02920

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Notlce date: _ January 12, 2018

Loan number:_

Property address:
177 Dexter St.
Providence, Rl 02907

 

 

mPORTANT MESSAGE ABOUT YOUR REQUEST FOR lNFCRMATlON

We recently received your correspondence dated December 7, 2017 (USPS mail receipt ending
2682 65), regarding the above referenced account for Dolores Cepeda and have confirmed the

following information,

Bank of America, N.A. has reviewed your correspondence Certain requests described in your
correspondence constitutes a valid qualified written request (QWR) under the Real Estate
Settlement and Procedures Act (RESPA) and will be addressed in accordance with RESPA

guidelines

We have received the authorization letter signed by our custo

mer granting you access to their

loan. This letter will confirm that we already have you as an authorized third party on the above-
referenced loan, Please note that authorization is only good for 90 days from the date
authorization is received unless there is a specific expiration date included Authorization on
this account will expire Nlarch 12, 2018, unless we receive an updated authorization form with a

specific end date.

The servicing of this loan was transferred from Bank of America, N.A. t

November 1, 2017.

o Fay Servicing on

l-lowever, at the time the account was transferred, the account was delinquent and due for the
August 2017 through October 2017 installments The last payment Bank of America, N.A.

received was on October 13, 2017 in

the amount of $1,602.75. This payment was combined

with $252.75 from the partial suspense account and a total of $1,855.50 was applied to the July
2017 installment effective October 12, 2017.

Please refer to the enclosed Loan Transaction History Statement to con

firm payments on the

account The statement provides pertinent information on payments received, tax and
insurance payments disbursed, funds in the suspense/unapplied funds balance, fees due and
iete fees assessed and paid. The Loan Transaction History Statement is designed to be user-

rnendiy and there are no codes or
charges, if applicab\e, will be reported to the iR

Please note that your correspondence included a copy of an investor le
August 14, 2017; however, your correspondence

letter. Please contact the current servicer directly for any updated invest

terms used that require specific definitions Paid late

S as interest paid.

tter mailed to you dated
did not include any questions related to the
or information,

This communication is from Bank of Ameride. N.A., the servicer of your home loan,

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We have enclosed a copy of the service release letter dated October 12, 2017. For additional

questions, please contact the current servicer directly at 1-800-495-7166 or by mail at the
following address

Fay Servicing
PO Box 220720
Chicago, lL 60622

lf you have questions regarding this letter or additional information to provide, mail your
correspondence to the following address:

Bank of America, N.A.
Notice of Error and Request for information
PO Box 942019
Simi Valley, CA 93094-2019

 

| QuEsrioNs?

We appreciate the opportunity to serve your home loan needs. lf you have questions, please
call our Customer Service Department at 1-800-669~6607, Monday through Friday, between the
hours of 8 a.m. and 9 p.m., Eastern Standard Time.

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John B. Ennis Esq
1200 RESERVO|R AVE
CRANSTON R| 02920~6012

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Bank cf America

BOA Notice of Eri'or Request for information
PO BOX 942019

SiMl VA_LLEY CA 93094~2019

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John B. Ennis

Atrorney at Law
1200 Reservoir Avenue
Cranston, Rhode Island 02920

TeL (4,01)' 943~9230 Fa_x (401) 679-0035
December 7, 2017
Bank of America
Attn: Notice of Errcr &
. . Request for .Information
P.O. Box 942019
Simi Valley, CA 93094-2019 `

Clients: Dolores Cepeda
Address: 177 Dexter Street, Providence, Rl 02907

Loan Number: -

Re: Request for Information Pursuant to Section 1024.36 of Reguiation X

Dear Sir or Madam:

This is a Request for lnformation relating to your servicing of the mortgage loan of the above-
named- .client, All references herein arc to Regulation X of the Mortgage Servicing Act as
amended by the Consurner Financial Protection Bureau pursuant to the Dodd Frank Act.

t The written authority of the client to my law firm for this Request is attached hereto and
incorporated herein by this reference

` `- 4 'Pursuant to Section 1024.36(c) of Regulation X, you must within five (5) days (excluding legal
' - public holidays, Saturdays and Sundays) provide our office with a response to this Request
acknowledging receipt»of this information request.

Pursuant to Section 1024.36(d), you must respond no later than thirty (30) days (excluding legal

public holidays, S`aturdays and Sundays) after you receive this request for information

Please provide the following information Withiri the time periods noted herein:

With respect to the receipt of all periodic payments of principal, interest and escrow, what
. was the contractual status.of the consumer’s mortgage loan when Bank of America, N.A.

transferred ownership of this mortgage loan, including all documents on which you relied
on to provide this information.

Sincerely,

_Q°\, /\'l d
John B. Enni_s, Esq.

 

 
 

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